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           Date:      11/04/2016 09:35 AM

           Subject:   Meeting Follow-Up




   Thanks again for taking the time to meet with me and my staff yesterday. As our state continues to face tremendous
   budget challenges, it remains critical that we continue to look at ways to become more efficient and effective at getting the
   job done. The opportunity to brainstorm with you and your staff about opportunities for improvement was very beneficial
   to us and we look forward to continuing to work with you in making positive impacts in how our criminal justice system
   functions.

   I just want to confirm with you the following outcomes from our meeting:

   1. We will meet with DPS&C staff to discuss the need for DPS&C to continued to receive sentencing minutes now that
   the Uniform Commitment Order (UCO) is available. I will also discuss this with our Judges at the LDJA/DOC Liaison
   Committee as well and will follow up with you on the outcomes of both meetings.

   2. We will look at the feasibility of receiving the UCO and Bill of Information documents electronically from the Clerks
   when they are sent to the Sheriff's Office, to determine if this can be implemented as a checks and balance system for
   offenders with multiple charges.

   3. We will compile a report for you by parish of the average amount of time elapsed between sentencing date and time
   computation for cases worked over the past year. We'll identify the 10 parishes with the longest elapsed time and

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greatest intake numbers and develop an action plan with you and the Sheriffs' Offices in these areas to improve upon this
turnaround time.

4. We will follow-up with the Supreme Court on access to CMIS. I will also request the support of the LDAA in getting
SID numbers and arrest date information for complete data connection between the courts and the State Police Criminal
History Records, to ease the process of clearing offender records prior to their release.

5. You will follow-up with those parishes we listed as charging us for criminal records to determine how we can work
together on sharing information until such time the solutions in Item 4 can be implemented.

6. We will work with you on legislation to amend CCRP 892 as we discussed.

Thanks again and we'll be in touch,
Secretary Le Blanc




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